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Hon. Colleen Kollar-Kotelly
United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C.20001


Dear Judge Kollar-Kotelly
I am writing to you today to provide character witness testimony on behalf of Jon Lizak. I

have known Jon for three years now, and I can confidently say he is a good person with
a strong moral character.


My older sister Taylor introduced me to Jon in 2020 when they started dating. Jon came
to Colorado to visit her, and I immediately recognized how happy he made my sister
and how much my parents adored him. Ever since I have enjoyed getting to know Jon
and witnessing his exceptional character and dedication. Over the years, Jon has been
like the older brother I never had. He has taught me many things and helped me
become the person I am today. I have seen the love he has to offer my older sister and
his efforts to become closer and love my family. ln every circumstance, he continuously
shows kindness, understanding, and compassion. Not only is he a caring man in our
family, but he also serves as an example to everyone who knows him. Jon has played a
significant and transformative role in my spiritualjourney by introducing me to
Catholicism. From the beginning, he welcomed my questions and clearly explained
Catholic beliefs and traditions. Through his example, lwitnessed the importance of
prayer, community, and service to others in living a fulfilling Christian life. More than just
teaching me about Catholicism, Jon exemplified the core values of the religion: love,
compassion, and forgiveness. His influence has strengthened my relationship with God
and deepened our bond as family members. Since Jon proposed to my sister last
October, my family has been ecstatic to welcome a man like Jon into our family.


I have witnessed Jon's genuine commitment to personal growth. I respectfully request
that you consider Jon Lizak's character when making your sentencing decision. Thank
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you for taking the time to view my perspective, and I trust that you will make a fair and
just decision in this matter. I am more than willing to provide additional information or
support as needed.


Sincerely,
Reece Bandemer
